                         Case 3:20-cv-01781-JD Document 67 Filed 11/08/21 Page 1 of 6


                   1   LATHAM & WATKINS LLP
                       Belinda S Lee (CA Bar No. 199635)
                   2   Gavin M. Masuda (CA Bar No. 260480)
                       Francis J. Acott (CA Bar No. 331813)
                   3   505 Montgomery Street, Suite 2000
                       San Francisco, CA 94111-6538
                   4   Telephone: (415) 391-0600
                       belinda.lee@lw.com
                   5   gavin.masuda@lw.com
                       francis.acott@lw.com
                   6
                       Aamir Virani (CA Bar No. 328920)
                   7   140 Scott Drive
                       Menlo Park, CA 94025
                   8   Telephone: +1.650.328.4600
                       Facsimile: +1.650.463.2600
                   9   aamir.virani@lw.com
               10      ASIAN AMERICANS ADVANCING JUSTICE –
                       ASIAN LAW CAUCUS
               11      Angela F. Chan (CA Bar No. 250138)
                       Melanie C. Kim (CA Bar No. 292588)
               12      55 Columbus Avenue
                       San Francisco, CA 94111
               13      Telephone: (415) 848-7719
                       angelac@advancingjustice-alc.org
               14      melaniek@advancingjustice-alc.org
               15      Attorneys for Plaintiff Jose Armando Escobar-Lopez
               16      Additional Counsel Listed on Signature Page
               17
                                                UNITED STATES DISTRICT COURT
               18
                                             NORTHERN DISTRICT OF CALIFORNIA
               19
                                                    SAN FRANCISCO DIVISION
               20
               21      JOSE ARMANDO ESCOBAR-LOPEZ,                   Case No. 3:20-cv-01781-JD
               22                              Plaintiff,            JOINT STIPULATION AND
                                                                     [PROPOSED] ORDER TO CONTINUE
               23                    v.                              DEADLINE TO FILE AMENDED
                                                                     COMPLAINT
               24      CITY OF DALY CITY, DALY CITY
                       POLICE DEPARTMENT, and DOES 1-20              The Honorable James Donato
               25      inclusive,

               26                              Defendants.

               27

               28
                                                                      JOINT STIPULATION AND [PROPOSED] ORDER TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                         CONTINUE DEADLINE TO FILE AM. COMPLAINT
                                                                                         CASE NO. 3:20-CV-01781-JD
                          Case 3:20-cv-01781-JD Document 67 Filed 11/08/21 Page 2 of 6


                   1          WHEREAS, Mr. Escobar-Lopez filed his Complaint (Dkt. 1) on March 12, 2020;

                   2          WHEREAS, Defendants’ Motion to Dismiss (Dkt. 35) was heard and submitted by the

                   3   Court on August 27, 2020;

                   4          WHEREAS, the Parties stipulated (Dkt. 40) to referral to a magistrate judge for a

                   5   settlement conference on December 21, 2020;

                   6          WHEREAS, the Court issued an order (Dkt. 41) referring the instant matter to the

                   7   Honorable Magistrate Judge Alex G. Tse for settlement on December 23, 2020;

                   8          WHEREAS, the Court issued its Order (Dkt. 48) granting Defendants’ Motion to Dismiss

                   9   with leave to amend, permitting Mr. Escobar-Lopez until April 13, 2021 to file an amended

               10      complaint;

               11             WHEREAS, on April 12, 2021, the Court entered an order continuing the deadline for Mr.

               12      Escobar-Lopez to file an amended complaint until June 18, 2021 (Dkt. 50);

               13             WHEREAS, the Parties appeared before the Honorable Alex Tse for a Settlement

               14      Conference on May 17, 2021. The Parties engaged in good faith discussions but did not reach an

               15      agreement to resolve this matter;

               16             WHEREAS, on June 15, 2021, the Court entered an order continuing the deadline for

               17      Mr. Escobar-Lopez to file an amended complaint until August 27, 2021 (Dkt. 56);

               18             WHEREAS, the Parties appeared before the Honorable Alex Tse for a second Settlement

               19      Conference on June 30, 2021. Dkt. 58. The Parties engaged in good faith discussions but did not

               20      reach an agreement to resolve this matter;
               21             WHEREAS, on August 9, 2021, the Court entered an order continuing the deadline for Mr.
               22      Escobar-Lopez to file an amended complaint until September 24, 2021 (Dkt. 61);
               23             WHEREAS, the Parties appeared before the Honorable Alex Tse for a third Settlement
               24      Conference on August 25, 2021. Dkt. 59. The Partied engaged in good faith discussions but did
               25      not reach an agreement to resolve this matter;

               26             WHEREAS, following the August 25 Settlement Conference, the Parties continued to

               27      engage in settlement discussions and reached an agreement in principle to settle this matter;

               28
ATTORNEYS AT LAW
                                                                             JOINT STIPULATION AND [PROPOSED] ORDER TO
                                                                              CONTINUE DEADLINE TO FILE AM. COMPLAINT
 SAN FRANCISCO
                                                                         1                      CASE NO. 3:20-CV-01781-JD
                          Case 3:20-cv-01781-JD Document 67 Filed 11/08/21 Page 3 of 6


                   1          WHEREAS, on September 23, 2021, the Court entered an order continuing the deadline

                   2   for Mr. Escobar-Lopez to file an amended complaint until November 15, 2021 (Dkt. 66);

                   3          WHEREAS, on September 30, 2021, the Parties executed a term sheet that reflects the

                   4   Parties’ agreement in principle;

                   5          WHEREAS, the Parties are currently negotiating the terms of a long form settlement

                   6   agreement and wish to direct their resources to finalizing that agreement;

                   7          WHEREAS, the Parties believe continuing the deadline for Mr. Escobar-Lopez to file an

                   8   amended complaint will promote efficiency and economy and conserve judicial resources in light

                   9   of the Parties’ execution of a term sheet and ongoing and productive efforts to finalize a long form

               10      settlement agreement;

               11             WHEREAS, the Parties believe they are close to executing a long form settlement

               12      agreement and are hopeful that this will be the final request for an extension of the deadline for

               13      Mr. Escobar-Lopez to file an amended complaint.

               14             NOW THEREFORE, the Parties hereby stipulate and respectfully request that the Court

               15      enter an order as follows:

               16             1.      The deadline for Mr. Escobar-Lopez to file an amended complaint is continued

               17      from November 15, 2021 to December 17, 2021.

               18             Pursuant to Civil Local Rule 6-2, counsel for Mr. Escobar-Lopez, Francis J. Acott, has

               19      submitted a declaration in support of this stipulated request.

               20             For the Court’s consideration, a proposed order is set forth below.
               21

               22      IT IS SO STIPULATED.
               23

               24

               25

               26

               27

               28
ATTORNEYS AT LAW
                                                                              JOINT STIPULATION AND [PROPOSED] ORDER TO
                                                                               CONTINUE DEADLINE TO FILE AM. COMPLAINT
 SAN FRANCISCO
                                                                          2                      CASE NO. 3:20-CV-01781-JD
                         Case 3:20-cv-01781-JD Document 67 Filed 11/08/21 Page 4 of 6


                   1   DATED: November 8, 2021      Respectfully submitted,

                   2                                       By:      /s/ Belinda S Lee
                   3                                             LATHAM & WATKINS LLP
                                                                 Belinda S Lee (CA Bar No. 199635)
                   4                                             Gavin M. Masuda (CA Bar No. 260480)
                                                                 Francis J. Acott (CA Bar No. 331813)
                   5                                             505 Montgomery Street, Suite 2000
                                                                 San Francisco, CA 94111-6538
                   6                                             belinda.lee@lw.com
                                                                 gavin.masuda@lw.com
                   7                                             francis.acott@lw.com

                   8                                             Aamir Virani (CA Bar No. 328920)
                                                                 140 Scott Drive
                   9                                             Menlo Park, CA 94025
                                                                 Telephone: +1.650.328.4600
               10                                                aamir.virani@lw.com

               11                                                ASIAN AMERICANS ADVANCING
                                                                 JUSTICE – ASIAN LAW CAUCUS
               12                                                Angela F. Chan (CA Bar No. 250138)
                                                                 Melanie C. Kim (CA Bar No. 292588)
               13                                                55 Columbus Avenue
                                                                 San Francisco, CA 94111
               14                                                angelac@advancingjustice-alc.org
                                                                 melaniek@advancingjustice-alc.org
               15
                                                                 Attorneys for Plaintiff Jose Armando
               16                                                Escobar-Lopez

               17

               18      DATED: November 8, 2021
                                                           By: /s/ David Mehretu
               19                                             MEYERS NAVE
                                                              David Mehretu (CA Bar No. 269398)
               20
                                                              Nancy E. Harris (CA Bar No. 197042)
               21                                             1999 Harrison Street, 9th Floor
                                                              Oakland, CA 94612
               22                                             Telephone: (510) 808-2000
                                                              dmehretu@meyersnave.com
               23
                                                                 Attorney for Defendants City of Daly City and
               24
                                                                 Daly City Police Department
               25

               26

               27

               28
ATTORNEYS AT LAW
                                                                     JOINT STIPULATION AND [PROPOSED] ORDER TO
                                                                      CONTINUE DEADLINE TO FILE AM. COMPLAINT
 SAN FRANCISCO
                                                                 3                      CASE NO. 3:20-CV-01781-JD
                          Case 3:20-cv-01781-JD Document 67 Filed 11/08/21 Page 5 of 6


                   1                                    SIGNATURE ATTESTATION

                   2          I am the ECF User whose identification and password are being used to file this Joint

                   3   Stipulation and [Proposed] Order to Continue Deadline to File Amended Complaint. Pursuant to

                   4   Local Rule 5-1(i)(3) regarding signatures, I, Belinda S Lee, attest that concurrence in the filing of

                   5   this document has been obtained.

                   6

                   7   DATED: November 8, 2021                                /s/ Belinda S Lee
                                                                              Belinda S Lee
                   8

                   9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20
               21

               22

               23

               24

               25

               26

               27

               28
ATTORNEYS AT LAW
                                                                              JOINT STIPULATION AND [PROPOSED] ORDER TO
                                                                               CONTINUE DEADLINE TO FILE AM. COMPLAINT
 SAN FRANCISCO
                                                                          4                      CASE NO. 3:20-CV-01781-JD
                          Case 3:20-cv-01781-JD Document 67 Filed 11/08/21 Page 6 of 6


                   1          Pursuant to the stipulation by and between the parties, through their respective attorneys of
                   2   record, the last day on or before which Plaintiff Jose Armando Escobar-Lopez may file an amended
                   3
                       complaint following the Court’s ruling on Defendants’ Motion to Dismiss, which is currently
                   4
                       November 15, 2021, is continued to December 17, 2021.
                   5

                   6

                   7          PURSUANT TO STIPULATION, IT IS SO ORDERED.

                   8

                   9
                       Dated: ___________________, 2021             ___________________________________
               10                                                   HONORABLE JAMES DONATO
                                                                    UNITED STATES DISTRICT JUDGE
               11

               12

               13

               14

               15

               16

               17

               18

               19

               20
               21

               22

               23

               24

               25

               26

               27

               28
ATTORNEYS AT LAW
                                                                             JOINT STIPULATION AND [PROPOSED] ORDER TO
                                                                              CONTINUE DEADLINE TO FILE AM. COMPLAINT
 SAN FRANCISCO
                                                                         5                      CASE NO. 3:20-CV-01781-JD
